Case 4:24-cr-00057-GKF Document 13 Filed in USDC ND/OK on 02/13/24 Page 1 of 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 24-mj-00094-SH-1
WAIVER OF DETENTION HEARING AND
CONSENT TO ORDER OF DETENTION
PENDING FURTHER PROCEEDINGS
Morgan Cole Womack,
Defendant.

After being advised in open court of his/her right to a detention hearing pursuant to 18 U.S.C. § 3142(f),
and after consulting with his/her attorney concerning said hearing, Defendant hereby waives his/her right to a
detention hearing, and consents to the entry of an Order of Detention Pending Further Proceedings.

At Defendant's request, and upon a finding by a judicial officer that information exists that has a
material bearing on the issues of whether there are conditions of release that will reasonably assure the
appearance of the person as required and the safety of any other person and the community, a judicial officer
will conduct a detention hearing pursuant to 18 U.S.C. § 3142(f).

Date: 2/13/2024

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Attorney for Defendant “Morgan Coté Womack

ORDER OF DETENTION
Defendant is hereby ordered detained pending further proceedings. Defendant is committed to the
custody of the Attorney General, or his designated representative, for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. Defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States, or on request of an attorney for the Government, the person in charge
of the corrections facility shall deliver the defendant to the United States Marshal for purpose of an appearance

in connection with a court proceeding.

Christine D. Little, U.S. Magistrate Judge

Date: 2/13/2024

Detention Hearing and/or Preliminary Hearing (8/2021)
